Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 1 of 46




                        EXHIBIT
                                  “B”
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 2 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 3 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 4 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 5 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 6 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 7 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 8 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 9 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 10 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 11 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 12 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 13 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 14 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 15 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 16 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 17 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 18 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 19 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 20 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 21 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 22 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 23 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 24 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 25 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 26 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 27 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 28 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 29 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 30 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 31 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 32 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 33 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 34 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 35 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 36 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 37 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 38 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 39 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 40 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 41 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 42 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 43 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 44 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 45 of 46
Case 1:19-cv-23122-MGC Document 1-3 Entered on FLSD Docket 07/26/2019 Page 46 of 46
